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                                                                    7 Attorneys for Plaintiff, Bradley D. Sharp,
                                                                      Chapter 11 Trustee
                                                                    8                            UNITED STATES BANKRUPTCY COURT

                                                                    9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                   10                                         LOS ANGELES DIVISION

                                                                   11 In re                                                  Case No. 23-01990-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12 LESLIE KLEIN,                                          Chapter 11

                                                                   13                       Debtor.                          Adv No. 23-01167-NB
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                   14                                                        APPELLEE’S SUPPLEMENTAL
                                                                        BRADLEY D. SHARP, Chapter 11 Trustee,                DESIGNATION OF RECORD OF
                                                                   15                                                        ADDITIONAL ITEMS TO BE INCLUDED
                                                                                            Plaintiff,                       IN RECORD RE: NOTICE OF APPEAL
                                                                   16
                                                                                  v.
                                                                   17                                                        Judge:   Hon. Neil W. Bason
                                                                      KENNETH KLEIN aka KENNETH KOLEV
                                                                   18 KLEIN aka KENNETH K. KLEIN aka KEN
                                                                      KLEIN, an individual; SHOSHANA SHIFRA
                                                                   19 KLEIN, aka SHOSHANA KLEIN, aka
                                                                      SHOSHANA S. KLEIN, an individual,
                                                                   20
                                                                                   Defendant.
                                                                   21

                                                                   22

                                                                   23
                                                                        Pla




                                                                   24             Plaintiff, Bradley D. Sharp, Chapter 11 Trustee (the “Appellee”) hereby submits

                                                                   25 Appellee’s Supplemental Designation Of The Record Of Additional Items To Be Included In The

                                                                   26 Record Re: Notice Of Appeal Of Order Granting Motion For Summary Judgment On All Claims

                                                                   27 For Relief And Of Order Denying Cross-Motion For Summary Judgment On All Claims For

                                                                   28


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                                                                    1 Relief By Defendants Kenneth Klein and Shoshana Klein (the “Supplemental Designation”), as

                                                                    2 follows:

                                                                    3                       APPELLEE’S SUPPLEMENTAL DESIGNATIONS OF THE RECORD

                                                                    4             1.        Scheduling Order [Docket No. 39].

                                                                    5             2.        Stipulation Extending Deadline to File Dispositive Motions [Docket No. 41].

                                                                    6             3.        Order on Stipulation to Continue Dispositive Motion Filing Deadline [Docket No.

                                                                    7 42].

                                                                    8             4.        Second Stipulation Extending Deadline For Filing Dispositive Motions [Docket

                                                                    9 No. 44].

                                                                   10             5.        Order On Second Stipulation To Continue Dispositive Motion Deadline [Docket

                                                                   11 No. 45].
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12             6.        Scheduling Order Re Motion for Summary Judgment [Docket No. 55].

                                                                   13             7.        Stipulation To Continue Hearing And Briefing Deadlines On Scheduling Order Re:
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                   14 Motion For Summary Judgment [Docket No. 59].

                                                                   15             8.        Defendants’ Supplemental Statement Re: Stipulation To Continue Hearing And

                                                                   16 Briefing Deadlines On Scheduling Order Re: Motion For Summary Judgment [Docket No. 59]

                                                                   17 [Docket No. 60].

                                                                   18             9.        Order Continuing Hearing And Related Dates For Motions For Summary Judgment

                                                                   19 [Docket No. 61].

                                                                   20             10.       Scheduling Order Re: Defendants’ Cross-Motion For Summary Judgment Or, In

                                                                   21 The Alternative, Summary Adjudication [Docket No. 77].

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                                                                    1             11.       Reporter’s Transcript Of February 5, 2025, Hearing Re; Chapter 11 Trustee’s

                                                                    2 Motion For Summary Judgment Or, In The Alternative Summary Adjudication Against

                                                                    3 Defendants; Hearing RE: Defendant’s Motion For Summary Judgment Or, In The Alternative

                                                                    4 Summary Adjudication; and Status Conference Re: Amended Complaint And Recovery Of

                                                                    5 Fraudulent Transfer.

                                                                    6 Dated: March 14, 2025                           PACHULSKI STANG ZIEHL & JONES LLP

                                                                    7                                                 By   /s/ Jeffrey P. Nolan
                                                                    8                                                      Jeffrey W. Dulberg
                                                                                                                           John W. Lucas
                                                                    9                                                      Jeffrey P. Nolan

                                                                   10                                                      Attorneys for Plaintiff, Bradley D. Sharp,
                                                                                                                           Chapter 11 Trustee
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                                                                   This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                        June 2012                                                                                       F 9013-3.1.PROOF.SERVICE
